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Case 4:19-cv-07123-PJH Document 80 Filed 05/29/20

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Specially Appearing For
KING & SPALDING LLP

Page 1 of 3

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

 

 

 

WHATSAPP INC., a Delaware Case No. 4:19-cv-07123-PJH
corporation, and FACEBOOK, INC., a
Delaware corporation, DECLARATION OF SHMUEL SUNRAY
IN SUPPORT OF KING & SPALDING
Plaintiffs, LLP’S OPPOSITION TO MOTION TO
DISQUALIFY
V.
Judge: Hon. Phyllis J. Hamilton
NSO GROUP TECHNOLOGIES
LIMITED and Q CYBER
TECHNOLOGIES LIMITED,
Defendants.
DECLARATION OF SHMUEL

SUNRAY 4:19-cv-07123-PJH

 
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I, Shmuel Sunray, declare as follows:

1. I am an attorney licensed to practice law in Israel and have been the General
Counsel of the NSO Group since November 1, 2019. I received my law degree in 1988. Prior to
my position with NSO, I served in various legal positions in the defense industry, both as an
officer in Israel’s Military Advocate General Corps and as General Counsel of two of Israel’s
leading defense industries, which manufacture and sell military technology and other products for
the Israel Defense Forces and worldwide customers. I have personal knowledge of the matters
stated in this declaration and, if called upon to testify as a witness, could and would competently
testify thereto.

2. I have reviewed the complaint in this lawsuit. The header on each page indicates it
was filed October 29, 2019. (As indicated above, I started working with NSO on November 1,
2019.) The complaint makes very serious allegations about NSO’s business, and it was filed by a
sophisticated, global law firm (and is now being prosecuted by at least two sophisticated global
law firms). To defend it in this lawsuit, NSO sought representation by a firm with (1) a strong
litigation team in California with subject matter expertise related to Plaintiff's allegations; and (2)
cyber security, governmental relations, and national security expertise similar to the expertise of
Plaintiffs’ counsel.

3. Upon my arrival at NSO, the company immediately began interviewing U.S.- law
firms to serve as its litigation counsel in this lawsuit. NSO created an internal “short list” of U.S.
firms that met NSO’s criteria. In the small pool of firms that met NSO’s criteria, eight leading
law firms the Company approached were ultimately prevented from representing NSO because of
conflicts with representation of Facebook. I thereafter conducted a lengthy period of interviewing
and negotiating with various counsel that met our criteria.

4. In the third week of January 2020, I was introduced to King & Spalding, which
met NSO’s hiring criteria. I flew to the United States and met with King & Spalding attorneys on
January 22 and 23, 2020. NSO signed an engagement agreement with King & Spalding on
February 2, 2020.

5. Ultimately, it took more than three months to locate a firm that did not have

-2. DECLARATION OF SHMUEL
SUNRAY 4:19-cv-07123-PJH

 
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conflicts and possessed subject matter expertise related to the lawsuit.

6. If King & Spalding were disqualified, NSO would have to start a new search for
counsel. It is my practice to interview lawyers personally for major engagements like this
lawsuit. Given the current restrictions on travel due to the COVID-19 pandemic, I would be
unable to do so. Based on the company’s experience leading to the engagement of King &
Spalding, moreover, I anticipate finding qualified replacement counsel would take several
months, even if there were no travel restrictions. What is more, the pool of law firms that satisfy
the general criteria for representing NSO has already been reduced significantly because of
conflicts with Facebook, and it would be difficult to find additional firms that meet NSO’s hiring
criteria and which NSO has not yet interviewed. NSO could potentially be left without counsel
for months, a circumstance that would cause significant prejudice and harm to the company. Due
to the amount of work done to date by K&S, which included many days of consultation to
understand NSO’s business, it would be very burdensome and expensive to begin this whole
process with an alternative firm.

I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct this? day of May 2020, at Tel Aviv, Israel.

Me

Shmuel Sunray

 

-3- DECLARATION OF SHMUEL
SUNRAY 4:19-cv-07123-PJH

 
